Case 2:18-cv-02421-JFW-E Document 57 Filed 06/04/18 Page 1 of 3 Page ID #:626



 1   LECLAIRRYAN LLP
     Brian C. Vanderhoof, CBN 248511
 2    Brian.Vanderhoof@leclairryan.com
     725 S. Figueroa Street, Ste. 350
 3   Los Angeles, CA 90017
     Phone: (213) 337-3247 / Fax: (213) 624-3755
 4
     WILEY REIN LLP
 5   Stephen J. Obermeier (pro hac vice pending)
       sobermeier@wileyrein.com
 6   Phone: (202) 719-7465 / Fax: (202) 719-7049
 7   Matthew J. Gardner, CBN 257556
      mgardner@wileyrein.com
 8   Phone: (202) 719-4108 / Fax: (202) 719-7049
 9   Rebecca J. Fiebig (pro hac vice pending)
      rfiebig@wileyrein.com
10   Phone: (202) 719-3206 / Fax: (202) 719-7049
11   1776 K Street NW
     Washington, DC 20006
12
     Attorneys for Defendants
13   Stonington Strategies LLC and Nicolas D. Muzin
14
                         UNITED STATES DISTRICT COURT
15
                        CENTRAL DISTRICT OF CALIFORNIA
16
                       WESTERN DIVISION AT LOS ANGELES
17
     BROIDY CAPITAL MANAGEMENT LLC
18   and ELLIOTT BROIDY,
                                                      Case No. 2:18-CV-02421-JFW-E
19                           Plaintiffs,
                                                      The Honorable John F. Walter
20         v.
21   STATE OF QATAR, STONINGTON                       NOTICE OF MOTION AND
     STRATEGIES LLC, NICOLAS D. MUZIN,                MOTION TO STAY THE CASE
22   GLOBAL RISK ADVISORS LLC, KEVIN
     CHALKER, DAVID MARK POWELL,                      OR IN THE ALTERNATIVE TO
23   MOHAMMED BIN HAMAD BIN                           STAY DISCOVERY
     KHALIFA AL THANI, AHMED AL-
24   RUMAIHI, and DOES 1-10,
25                           Defendants.
26                                                    Hearing Date: June 25, 2018
27                                                    Hearing Time: 1:30 pm
                                                      Courtroom: 7A
28
Case 2:18-cv-02421-JFW-E Document 57 Filed 06/04/18 Page 2 of 3 Page ID #:627



 1
          TO THE CLERK OF THE COURT, ALL PARTIES AND THEIR
 2
     ATTORNEYS OF RECORD:
 3
          PLEASE TAKE NOTICE that on Monday, June 25, 2018, at 1:30 p.m., or as
 4
     soon thereafter as the matter may be heard in Courtroom 7A of the United States
 5
     District Court for the Central District of California, located at 350 West 1st Street,
 6
     Los Angeles, California 90012, Defendants Stonington Strategies LLC and Nicolas
 7
     D. Muzin (collectively “Stonington Defendants”) will and hereby do move this Court
 8
     for an order staying the case, or alternatively staying discovery pending filing and
 9
     resolution of the Stonington Defendants’ forthcoming motion to dismiss.1
10
          This motion is made following the conference of counsel discussing the
11
     contemplated motion and any potential resolution pursuant to Local Rule 7-3 on April
12
     26, 2018, and this Court’s May 7, 2018 Order (Dkt. 46). The State of Qatar, joined
13
     by the Stonington Defendants and Plaintiffs, filed a Joint Statement on May 31, 2018
14
     (Dkt. 52) in accordance with its obligations under Judge John F. Walter’s Standing
15
     Order (Dkt. 17).
16
          The Stonington Defendants request that the Court grant their motion to stay
17
     because there is a strong likelihood that the Stonington Defendants will be dismissed
18
     from this action. As discussed fully in the accompanying Memorandum of Points and
19
     Authorities, the Court lacks personal jurisdiction over the Stonington Defendants, the
20
     Stonington Defendants are immune from suit, and Plaintiffs have failed to state a
21
     claim against the Stonington Defendants.            Further, whereas the Stonington
22
     Defendants will suffer irreparable harm if discovery is allowed to proceed, Plaintiffs
23
     will suffer no harm if the case is stayed. Finally, a stay serves the public interest.
24

25
     1
      Counsel for the Stonington Defendants specially appear for the limited purpose of
26   moving to stay discovery until they can contest jurisdiction and otherwise move to
27   dismiss Plaintiffs’ Amended Complaint. Counsel’s appearance prior to filing a
     motion to dismiss should not be construed as indicating consent to jurisdiction on the
28   part of the Stonington Defendants.
                                                 1
Case 2:18-cv-02421-JFW-E Document 57 Filed 06/04/18 Page 3 of 3 Page ID #:628



 1
           This motion is based on this Notice of Motion, the concurrently filed
 2
     Memorandum of Points and Authorities, the pleadings filed in this action, the records
 3
     of this Court, and such other matters as may be raised before or during oral argument
 4
     at the hearing on this motion.
 5

 6

 7
     Dated: June 4, 2018                           Respectfully submitted,
 8
                                                   WILEY REIN LLP
 9
                                                   LECLAIRRYAN LLP
10

11                                                 By: /s/ Matthew J. Gardner
12                                                 Matthew J. Gardner
13                                                 Attorney for Defendants Stonington
                                                   Strategies LLC and Nicolas D. Muzin
14

15

16

17

18

19
20

21

22

23

24

25

26
27

28

                                               2
